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                                       IN THE
                            UNITED STATES DISTRICT COURT
                                      FOR THE
                            WESTERN DISTRICT OF VIRGINIA



  ELIZABETH SINES, ET AL                                           NOTICE
                                                              CASE NO.: 3:17CV00072
        v.

  JASON KESSLER, ET AL

  ______________________________________________________________________________

  TYPE OF CASE:
                    X     CIVIL                   CRIMINAL
  ______________________________________________________________________________

  TYPE OF PROCEEDING: Scheduling Conference

  *The Court will also address some of the pending motions
  ______________________________________________________________________________

  X     TAKE NOTICE that the proceeding in this case has been SCHEDULED as indicated
        below:
  ______________________________________________________________________________

  LOCATION:
      U. S. DISTRICT COURT
      3rd Floor Courtroom                        DATE: March 16, 2018
      255 West Main Street                       TIME: 2:00 P.M.
      Charlottesville, VA 22902

  *Counsel and pro se parties may appear in person or participate by conference call. If
  participating by conference call and need dial in information, please contact the deputy
  clerk at 540-434-3181 ext. 2
  ______________________________________________________________________________


                                                        JULIA C. DUDLEY, CLERK

  DATE: March 1, 2018                                   By: s/ Karen Dotson
                                                               Deputy Clerk
  To:   Hon. Moon
        Hon. Hoppe
        Counsel of Record
        Pro Se Defendants
        File
